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10                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
     DREW HILL,                                               ) Case No. '12CV2582 AJB BLM
12                                                            )
                                           Plaintiff,         ) COMPLAINT
13           vs.                                              )
                                                              )
14   NCO FINANCIAL SYSTEMS INC.,                              )
                                                              )
15                                         Defendant.         )
                                                              )
16
17                                              INTRODUCTION
18           1.     Plaintiff seeks redress in this action for NCO Financial Systems Inc (Hereinafter
19   “Defendant”) for Defendant’s practice of making unauthorized phone calls to cellular telephones under
20   the Telephone Consumer Protection Act, 47 U.S.C. §227, et seq. (“TCPA”). The TCPA prohibits
21   unsolicited voice calls to cellular telephones without prior express consent within the meaning of the
22   TCPA.
23                                       JURISDICTION AND VENUE
24           2.     This Court has jurisdiction under 28 U.S.C. §1331 (general federal question), §1337,
25   and 47 U.S.C. §227 (TCPA). Venue in this District is proper because Defendant transacts business here
26   and the tort was committed here.
27           3.     In addition to subject matter jurisdiction under the TCPA, this matter in controversy
28   exceeds $5,000,000, as each member of the proposed Class is entitled to up to $500.00 and up to


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 1   $1,500 in statutory damages for each call to cellular telephones that has violated the TCPA. Based on
 2   the calls to Plaintiff and the size of Defendant, Plaintiff alleges on information and belief that it has
 3   used an automatic telephone system to make in excess of 10,000 calls to putative class members. None
 4   of the exceptions to the Class Action Fairness Act of 2005 apply. Accordingly, this Court has
 5   jurisdiction pursuant to 28 U.S.C. §1332(d)(2).
 6                                                    PARTIES
 7          4.      Plaintiff is a resident of and resides in San Diego, California.
 8          5.      Defendant is one of the largest debt collection companies in the world employing
 9   approximately 30,000 people worldwide with $1.6 billion in revenues (2010).
10          TELEPHONE CONSUMER PROTECTION ACT OF 1991 (TCPA), 47 U.S.C. §227
11          6.      In 1991, Congress enacted the Telephone Consumer Protection Act, 47 U.S.C. §227
12   (TCPA), in response to a growing number of consumer complaints regarding certain telemarketing
13   practices.
14          7.      The TCPA regulates, among other things, the use of automated telephone equipment, or

15   “auto-dialers.” Specifically, the plain language of section 227(b)(1)(A)(iii) prohibits the use of auto-

16   dialers to make any call to a wireless number in the absence of an emergency or the prior express

17   consent of the called party.

18          8.      According to findings by the Federal Communication Commission (“FCC”), the agency

19   Congress vested with authority to issue regulations implementing the TCPA, such calls are prohibited

20   because, as Congress found, automated or prerecorded telephone calls are a greater nuisance and

21   invasion of privacy than live solicitation calls, and such calls can be costly and inconvenient. The FCC

22   also recognized that wireless customers are charged for incoming calls whether they pay in advance or

23   after the minutes are used.

24          9.      On January 4, 2008, the FCC released a Declaratory Ruling wherein it confirmed that

25   autodialed and prerecorded message calls to a wireless number by a creditor (or on behalf of a creditor)

26   are permitted only if the calls are made with the “prior express consent” of the called party. The FCC

27   “emphasize[d] that prior express consent is deemed to be granted only if the wireless number was

28   provided by the consumer to the creditor, and that such number was provided during the transaction


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 1   that resulted in the debt owed.”
 2                                                     FACTS
 3          10.       At all times relevant, Plaintiff was an individual residing in the San Diego, California.
 4   Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47 U.S.C. §153(10).
 5          11.       Plaintiff never gave his cell phone number to any entity that either acquired or attempted
 6   to collect on this account.
 7          12.       Plaintiff did not list his cellular phone number in or on any other documents at anytime
 8   during the transaction that resulted in the debt owed, nor did he verbally provide his phone number to
 9   or consent to any calls on his cellular phone by Defendant.
10          13.       Defendant is, and at all times mentioned herein was, a corporation and a “person”, as
11   defined by 47 U.S.C. §153(10).
12          14.       Notwithstanding the fact Plaintiff did not provide Defendant with his cellular number,
13   Defendant repeatedly contacted Plaintiff on Plaintiff’s cellular telephone. Plaintiff received numerous
14   calls on his cellular phone from Defendant.
15          15.       All telephone contact by Defendant to Plaintiff on his cellular telephone occurred via an
16   “automatic telephone dialing system,” as defined by 47 U.S.C. §227(a)(1), and all calls that are the
17   subject of this Complaint occurred within four years of the filing of this Complaint.
18          16.       The telephone calls placed by Defendant to Plaintiff’s cellular telephone via the
19   automatic telephone dialing system used “an artificial or prerecorded voice” as described in 47 U.S.C.
20   §227(b)(1)(A).
21          17.       The telephone number that Defendant used to contact Plaintiff, with a “prerecorded
22   voice” made by an “automatic telephone dialing system,” was assigned to a cellular telephone service
23   as specified in 47 U.S.C. §227(b)(1)(A)(iii).
24          18.       The complained of telephone calls constituted calls not for emergency purposes as
25   defined by 47 U.S.C. §227(b)(1)(A)(i).
26          19.       “During the transaction that resulted in the debt owed,” Plaintiff did not provide his
27   wireless number to Defendant nor otherwise provide express consent to receive prerecorded calls by
28   Defendant on Plaintiff’s cellular telephone.


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 1          20.     Plaintiff did not own his current cellular telephone at the time he incurred this debt. He
 2   therefore could not have given Defendant or any other company express consent at that time to contact
 3   his on that cellular phone via an automatic telephone dialing system.
 4          21.     Plaintiff did not provide “express consent” allowing Defendant to place telephone calls
 5   to Plaintiff’s cellular phone utilizing an “artificial or prerecorded voice” or placed by an “automatic
 6   telephone dialing system,” within the meaning of 47 U.S.C. §227(b)(1)(A).
 7          22.     Defendant did not make telephone calls to Plaintiff’s cellular phone “for emergency
 8   purposes” utilizing an “artificial or prerecorded voice” or placed by an “automatic telephone dialing
 9   system,” as described in 47 U.S.C. §227(b)(1)(A).
10          23.     Defendant’s telephone calls to Plaintiff’s cellular phone utilizing an “artificial or
11   prerecorded voice” or placed by an “automatic telephone dialing system” for non-emergency purposes
12   and in the absence of Plaintiff’s prior express consent violated 47 U.S.C. §227(b)(1)(A).
13          24.     Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling, the
14   burden is on Defendant to demonstrate that Plaintiff provided express consent within the meaning of
15   the statute, because it is the best entity to determine how numbers were attained.
16                                 COUNT I - TCPA (CELLULAR CALLS)
17          25.     Plaintiff incorporates the above factual allegations herein.
18          26.     Defendant made unsolicited commercial phone calls to the wireless telephone number of
19   Plaintiff and the other members of the class using equipment that, upon information and belief, had the
20   capacity to store or produce telephone numbers to be called, using a random or sequential number
21   generator.
22          27.     These phone calls were made without the prior express consent of Plaintiff or the class.

23          28.     Defendant has therefore violated the TCPA, 47 U.S.C. §227(b)(1)(A)(iii), which makes

24   it unlawful for any person within the United States ... to make any call (other than a call made for

25   emergency purposes or made with the prior express consent of the called party) using any automatic

26   telephone dialing system or an artificial or prerecorded voice ...” As a result of Defendant’s illegal

27   conduct, the members of the class suffered actual damages and, under section 227(b)(3)(B), are each

28   entitled to, inter alia, a minimum of $500.00 in damages for each such violation of the TCPA.


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 1              29.      Because Defendant’s misconduct was willful and knowing, the Court should pursuant to
 2   section 227(b)(3)(C), treble the amount of statutory damages recoverable by the Plaintiff and the class.
 3              30.      Plaintiff and Class members are also entitled to and do seek injunctive relief prohibiting
 4   Defendant’s violation of the TCPA in the future.
 5                                                   CLASS ALLEGATIONS
 6              31.      Plaintiff proposes the following TCPA definition, subject to amendment as appropriate
 7                       All persons within the state of California1 who, on or after four years prior to the
                         filing of this action and 20 days following the filing of this action, received a non-
 8                       emergency telephone call from Defendant to a cellular telephone through the use
                         of an automatic telephone dialing system or an artificial or prerecorded voice and
 9                       who did not provide prior express consent for such calls during the transaction
                         that resulted in the debt owed.
10
                         Collectively, all these persons will be referred to as “Plaintiffs” or “Class
11                       members.” Plaintiff represents, and is a member of, the Class. Excluded from the
                         Class are Defendant and any entities in which Defendant has a controlling
12                       interest, Defendant’s agents and employees, the Judge to whom this action is
                         assigned and any member of the Judge’s staff and immediate family, and claims
13                       for personal injury, wrongful death and/or emotional distress.
14              32.      The class is so numerous that joinder is impracticable. On information and belief, there
15   are more than 50 members of the class. The joinder of all Class members is impracticable due to the
16   size and relatively modest value of each individual claim. The disposition of the claims in a class action
17   will provide substantial benefit the parties and the Court in avoiding a multiplicity of identical suits.
18   The Class can be identified easily through records maintained by Defendant.
19              33.      There are questions of law and fact common to the members of the classes, which
20   common questions predominate over any questions that affect only individual class members. Those
21   common questions of law and fact include, but are not limited to, the following:
22                       a.       Whether, beginning on October, 22, 2008, Defendant made nonemergency calls
23              to Plaintiff and Class members’ cellular telephones using an automatic telephone dialing system
24              or an artificial or prerecorded voice;
25                       b.       Whether Defendant can meet its burden of showing it obtained prior express
26              consent (i.e., consent that is clearly and unmistakably stated), during the transaction that
27              resulted in the debt owed, to make such calls;
28   1
         Plaintiff may seek leave to amend the geographic scope of the class definition based on discovery.


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 1                    c.     Whether Defendant’s conduct was knowing and/or willful;
 2                    d.     Whether Defendant is liable for damages, and the amount of such damages; and
 3                    e.     Whether Defendant should be enjoined from engaging in such conduct in the
 4          future.
 5          34.       Plaintiff’s claims are typical of the claims of the class members. All are based on the
 6   same factual and legal theories.
 7          35.       Plaintiff will fairly and adequately represent the interests of the class members. Plaintiff
 8   has retained counsel experienced in handling class action claims involving violations of federal and
 9   state consumer protection statutes including TCPA class actions.
10          36.       A class action is superior to other alternative methods of adjudicating this dispute. Class
11   wide relief is essential to compel Defendant to comply with the TCPA. The interest of Class members
12   in individually controlling the prosecution of separate claims against Defendant is small because the
13   statutory damages in an individual action for violation of the TCPA are small. Management of these
14   claims is likely to present significantly fewer difficulties than are presented in many class claims

15   because the calls at issue are all automated and the Class members, by definition, did not provide the

16   prior express consent required under the statute to authorize calls to their cellular telephones.

17          37.       Defendant has acted on grounds generally applicable to the Class, thereby making final

18   injunctive relief and corresponding declaratory relief with respect to the Class as a whole appropriate.

19   Moreover, on information and belief, Plaintiff alleges that the TCPA violations complained of herein

20   are substantially likely to continue in the future if an injunction is not entered.

21          WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and the

22   class members and against Defendant for:

23                    A.     As a result of Defendant’s negligent violations of 47 U.S.C. §227(b)(1), Plaintiff

24          seeks for himself and each Class member $500.00 in statutory damages for each and every call

25          that violated the TCPA;

26                    B.     As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.

27          §227(b)(1), Plaintiff seeks for himself and each Class member treble damages, as provided by

28          statute, of up to $1,500.00 for each and every call that violated the TCPA;


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 1                     C.    Injunctive relief prohibiting such violations of the TCPA by Defendant in the
 2           future;
 3                     D.    An award of attorneys’ fees and costs to counsel for Plaintiff and the Class;
 4                     E.    An order certifying this action to be a proper class action pursuant to Federal
 5           Rule of Civil Procedure 23, establishing an appropriate Class and any Subclasses the Court
 6           deems appropriate, finding that Plaintiff is a proper representative of the Class, and appointing
 7           the lawyers and law firms representing Plaintiff as counsel for the Class;
 8                     F.    Such other relief as the Court deems just and proper.
 9                                                TRIAL BY JURY
10           Pursuant to the seventh amendment to the Constitution of the United States of America,
11   Plaintiff is entitled to, and demands, a trial by jury.
12
13   Dated October 23, 2012                                         Lester & Associates
                                                               By   /s/ Patric A. Lester
14                                                                  Patric A. Lester
                                                                    Attorney for Plaintiff,
15                                                                  pl@lesterlaw.com
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